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 6                    IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE DISTRICT OF ARIZONA

 8   C.M., on her own behalf and on behalf of her       No. CV-19-05217-PHX-SRB
     minor child, B.M.; L.G., on her own behalf and
 9   on behalf of her minor child, B.G.; M.R., on her   ORDER
10   own behalf and on behalf of her minor child,
     J.R.; O.A., on her own behalf and on behalf of
11   her minor child, L.A.; and V.C., on her own
12   behalf and on behalf of her minor child, G.A.,

13                       Plaintiffs,

14   v.
     United States of America,
15
                          Defendant.
16
     A.P.F. on his own behalf and on behalf of his      No. CV-20-00065-PHX-SRB
17   minor child, O.B.; J.V.S. on his own behalf and
     on behalf of his minor child, H.Y.; J.D.G. on his ORDER
18   own behalf and on behalf of his minor child,
19   M.G.; H.P.M. on his own behalf and on behalf of
     his minor child, A.D.; M.C.L. on his own behalf
20   and on behalf of his minor child, A.J.; and R.Z.G.
21   on his own behalf and on behalf of his minor
     child, B.P.,
22
                         Plaintiffs,
23
     v.
24   United States of America,
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                         Defendant.
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 1           Pending before the Court is Plaintiffs’ Request for In Camera Review of
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     Additional Documents filed on February 9, 2022 (CV19-05217 Doc. 134 & CV20-
 3
     00065 Doc. 133.) The United States filed its response on February 17, 2022 (CV19-
 4
 5   05217 Doc. 138 & CV20-00065 Doc. 137), and Plaintiffs filed a Reply on February

 6   18, 2022 (CV19-05217 Doc. 140 & CV20-00065 Doc. 139.)
 7
             On February 15 and 24, 2022, this Court entered its Orders (CV19-05217
 8
     Docs. 137 & 142 & CV20-00065 Docs. 136 & 141) after its review of 178 documents
 9
10   submitted for in camera review for privileges asserted by the United States. These

11   Orders addressed variants of most of the additional documents which Plaintiffs
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     request the Court to also review for privilege. Because this Court’s Orders on
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     February 15 and 24, 2022 may have resolved Plaintiff’s pending Request, the Court
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15   will deny the pending Request without prejudice to refile after consideration of the

16   effect of the Court’s February 15 and 24, 2022 Orders.
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             IT IS ORDERED denying without prejudice Plaintiffs’ Request for In Camera
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     Review of Additional Documents. (CV19-05217 Doc. 134 & CV20-00065 Doc.
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20   133).

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                   Dated this 2nd day of March, 2022.
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